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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

United States of America,
Plaintiff,
versus

Civil Action H-14-27

John Parks Trowbridge, Jr., et al.,

MMM MAM lan LM “

Defendants.

Order Denying Motion to Vacate

Because the motion to vacate judgment and order of John Parks Trowbridge, Jr., is
simply a request for a rehearing on what has already been decided by this court, the court of

appeals, and the Supreme Court of the United States, it is denied. (82)
Signed on September 29, 2015, at Houston, Texas.

Lynn N. Hughes!
United States District Judge
